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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION



KOSS CORPORATION,

     Plaintiff,                       Case No. 6:20-cv-00665

     v.                               JURY TRIAL DEMANDED

APPLE INC.,
                                      FILED UNDER SEAL
      Defendant.



KOSS’S REPLY IN SUPPORT OF ITS MOTION TO STRIKE EXPERT OPINIONS OF
 DR. CHRISTOPHER JULES WHITE, MR. DANIEL C. WIGGINS, MR. THOMAS
                 BRITVEN, AND DR. ITAMAR SIMONSON
            BASED ON UNTIMELY DISCOVERY DISCLOSURES
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I.       INTRODUCTION

         Apple’s opposition to Koss’ Motion to Strike (Dkt. 216) only confirms what Koss argues

in its opening brief: that Apple improperly withheld evidence from Koss and is attempting to

introduce such evidence, to its advantage, long after the date by which Apple had to disclose that

evidence. Apple’s history of discovery abuses is no secret, and as Koss further explains below,

Apple should not be rewarded for its improper gamesmanship.1

II.      UNDISCLOSED FACTS REGARDING PURPORTED NON-INFRINGING USE

         A.     Apple Withheld Evidence of “Local Siri”

                1.     Apple’s Corporate Witness Testified Apple Abandoned Mini/Local Siri

         Apple disingenuously claims that because Apple produced documents referring to “

      ” Koss was sufficiently on notice that Apple had released an allegedly non-infringing

alternative use of “Siri.” Dkt. 216 at 3. This feature is referred to in Apple’s documents as “

                            See, e.g., Ex. A–D. “            ” is also identified in Apple documents

without the “          ” reference. See, e.g., Ex. E (

                               ). The existence of these documents is not the issue, however. The

issue is that, despite producing these documents, Apple offered evidence through the mouth of its

corporate designee on topics related to Siri that Apple shelved           . Baptiste Paquier, Apple’s

corporate representative on Siri-related issues, testified that “                          . Dkt.214-

14 (Paquier Dep. Tr.) at 154:21–155:1. Apple’s document production and deposition testimony

does not confirm that Koss should have known that                   ” was available; it confirms that

Koss reasonably relied on Apple’s testimony that it was not.

                2.     Apple’s Corporate Witness Testified that

1
  In light of recent PTAB decisions, Koss does not reply in support of its motion to strike on to
issues relating to the ’451 Patent. Koss reserves its right to raise issues related to the ’451 Patent
in the event the PTAB decision is overturned on appeal.

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        Beyond simply indicating that Apple had abandoned “                                Apple’s

corporate witness’ testimony further confirms that Apple unquestionably withheld evidence

related to “

        In particular, Apple’s experts expressly refer to raising and lowering volume as one of the

        uses of Siri. See Dkt. 216-8 (Britven Rebuttal Rpt.) ¶168. Apple’s corporate representative

to testify about Siri and AirPods was prepared to testify about “the mechanism and/process by

which each Accused Headphone wirelessly connects and communicates with Accused Networking

Device.” Dkt. 214-14 (Paquier Dep. Tr.) at 9:12–18; Dkt. 217-2 (Koss 30(b)(6) Deposition notice

to Apple, Topic 2, with “Accused Networking Device” defined as incorporating a system that

transmits network information to electronic devices). Mr. Paquier testified after the iOS 15 beta

was released (per Mr. Wiggins), and his testimony confirmed the use of a “               ” even for

features that Apple’s experts now contend                               . Had Mr. Paquier testified

that certain features, such as the very feature he was discussing (volume up and down), could be

activated                                 , then Koss would have had reason to conduct additional

discovery into changes in Apple’s Siri system. It appears, however, that Apple intentionally

deceived Koss. Indeed, Mr. Wiggins tested the beta “local Siri” functionality in June, before Mr.

Paquier’s deposition. See Dkt. 192-8 (Wiggins Rpt.) ¶ 369. Mr. Paquier’s testimony as a corporate

representative reasonably caused Koss to believe that he was telling the truth of the then current

and foreseeable future Siri functionality, even though it operated differently as of before the date

of his testimony.

        Koss cited several excerpts of the testimony of Apple’s corporate witness on the use of Siri

in which he explicitly testified that the Siri servers were used when a request relating to raising

and lowering volume was initiated through the headphones:




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                                                 ***




Dkt. 189-2 Appx1298, 159:5–17 (emphasis added). Koss’ other cited testimony of Mr. Paquier

likewise confirms that he presented testimony that Siri commands of a type that Apple now

contends is local, went to the Siri servers:


                                                                            “ Id., Appx1292, 111:4–7
    (emphasis added);


                                                                          Id., Appx 8–15, 113:10–15
    (emphasis added);


                                                                              Id., Appx1296, 118:3–9
    (emphasis added);


                                                              id. at Appx1297, 123:10–18 (emphasis
    added).

       Apple’s discounting of Mr. Paquier’s testimony about

as “stray” testimony is disingenuous if not an outright fabrication. See Dkt. 216 at 5. That Apple

even needs to characterize it as “stray” is concerning, but at the very least indicates that Apple

could have, should, but did not, clarify the functionality of the at-issue products, particularly as

that functionality pertained to its experts’ damages opinions in this case. Based on the testimony

cited above, it is without question that Mr. Paquier testified that, in the ordinary operation of



       B.      The Beta Test Version of iOS 15 and “Local Siri” Is By Definition Not a
               Reasonable, Acceptable Alternative


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       Apple suggests that the fact that the non-official, beta (i.e., public test version) iOS 15 was

available to customers before the official release date of September 20, 2021 (see Dkt. 192-8

(Wiggins Rpt.) ¶ 369), somehow supports its view that Apple had come up with a reasonable non-

infringing alternative to a subset of uses of Siri, though the bulk of Siri

                    . First, the release of a feature in a public beta testing program does not confirm

that the feature will actually be available within the official release of the iOS operating system

that would be used by users of Apple products when it is officially released.2 Indeed, the public

testing of features suggests that there remains a question of whether a given feature is “acceptable”

at all, let alone whether it may be an acceptable non-infringing alternative or use.

       To the extent “local Siri” is an alternative use of some Siri features, its final release to the

public just six weeks before the close of expert discovery, after a damages period of a year and a

half, necessarily prevents the ability of any party to truly evaluate whether such alternative is

actually reasonable, and whether it has any impact on damages. There are questions of adoption

of the feature, for example. Indeed, it is apparent that                      are still used to



                                                                   , then it is not necessarily relevant

that a Siri command can be processed locally while a companion device is on “airplane mode.”

       C.      The Evidence Is Not Important

       Because the official iOS 15 release did not take place until September 2021, several years

after the hypothetical negotiation and a month and a half before the close of fact discovery, it is

virtually impossible to know the value of this feature to Apple’s products and the impact it would

have, if any, on the value of the asserted patents. For example, Apple has presented no evidence



2
   See, e.g., https://www.macworld.com/article/353957/ios-15-features-missing-at-launch.html
(“Legacy Contacts” feature was “part of iOS 15 beta releases until beta 5, when it went away.”).

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as to the adoption rate of iOS 15 such that there is no evidence as to how many users could have

even used “local Siri” by the close of discovery. Furthermore, Apple has presented no testimony

of evidence as to the use rate of “local Siri” as compared to the continued “nonlocal” Siri

functionality. Without such evidence, any testimony about the “local Siri” feature and its impact

on the damages in this case is completely speculative. Indeed, despite identifying the existence of

“local Siri” Apple makes no effort to explain its importance. Apple did not prepare its corporate

witnesses and did not identify “local Siri” in its discovery responses.

       Furthermore, despite Koss producing documents relating to its own survey methodology

during discovery, Apple made no effort to conduct a survey of its own with references to “local

Siri” to rebut Koss’ survey. This was so despite Apple repeatedly and incorrectly contending that

the fact discovery period in fact remained open until the end of February, 2022.

       In particular, Apple has done nothing to compare the value of iOS 15 with its “local Siri”-

lacking predecessor operating systems. Through its experts, Apple merely provides a baseless

conclusion that this alleged non-infringing use case somehow devalues its infringement of the

asserted patents. Apple provides no evidence that the mere fact that “local Siri” means that the use

of these specific “local Siri”-enabled features                                    , or if this is only

the case while “airplane mode” is activated. Apple’s failure to provide any evidence about this

feature as implemented and used by Apple customers, other than its mere existence, demonstrates

that this evidence is not important to Apple.

       Lacking foundation for such evidence or conclusions, this evidence is plainly unimportant,

and irrelevant to this case. Koss’ Motion to Strike should be granted.

III.   UNDISCLOSED FACTS REGARDING SIRI ACTIVATION

       Apple intentionally conflates the patented technology to justify its failure to provide

information regarding alleged noninfringing “uses” during discovery. Apple argues that Koss’

interrogatory regarding damages does not sufficiently request information relating to non-

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infringing “uses” of Siri that Apple contends should drive down the value of the reasonably royalty.

Apple misstates Koss’ position by representing, without so much as a citation to any statement

from Koss or Koss’ experts, that Koss’ damages theory depends on an assumption that “all

instances of activating Siri would infringe.” These are not Koss’ or its experts’ assumptions; only

Apple and Mr. Wiggins have made these assumptions, and only by ignoring the nature of the

claims at issue. See Dkt. 192-8, ¶¶ 365–366; see also Dkt. 216 at 9.

       Contrary to these unsupported assertions, the asserted claims are all apparatus claims, so

the act of infringement at issue is the sale of the device and/or assembly of the system (not the

invocation of “Siri”). By mischaracterizing the Asserted Patents, Apple seeks to create new, but

irrelevant, non-infringing “uses” that were not within the scope of the underlying technical issues

relating to infringement or damages, during discovery. They are, however, within the scope of

Apple’s contentions as they relate to the bases for a reduction in the value of the reasonable royalty

for Koss’ patents. It is undisputed that Apple never disclosed these facts prior to its expert reports.

       Apple’s conduct (or lack thereof) related to this evidence demonstrates its unimportance to

Apple. If it truly were important, Apple would have conducted its own survey to determine the

actual value to a customer of not having to reach into his or her pocket, and activate Siri by phone,

or without having to make sure they also own a several hundred dollar watch or thousand dollar

computer to activate Siri so that they can then speak a command to Siri through their headphones.

       This previously unproduced (and incomplete) evidence is not important. This evidence

does not suggest that Koss’ survey is incorrect, and Koss’ survey reliably tests the value of the

patented features. Even if there were some relevancy of the fact that Siri may be activated on a

phone or other peripheral device, Apple’s lack of any supporting evidence, demonstrates that such

relevancy is de minmis as compared to Koss’ survey.

       Furthermore, the prejudice to Koss is significant. These are apparatus claims, and the use

of any specific feature is not relevant to the infringing act at issue. Apple’s reference to other Siri
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activation is not only based on a patently faulty premise, the discussion of other activations of Siri

will confuse the jury because there is no underlying explanation for the reason these other

activations impact the value of the asserted patents, let alone the extent of such impact.

IV.    MR. WIGGINS’ FACT TESTIMONY ABOUT DOPPLER LABS

       Koss does not argue that Mr. Wiggins cannot testify about his general experience as Apple

suggests. Dkt. 216 at 11–12. Indeed, Apple disingenuously misinterprets Koss’ request by making

the non sequitur argument that the Doppler Labs work is not “asserted as prior art in this matter.”

Id. Of course it is not; it is an example (like Apple itself) of a company following in Koss’ true

wireless stereo footsteps after the industry innovator had already innovated.

       Nevertheless, Apple has made invalidity arguments here under 35 U.S.C. § 112 that make

the facts around Doppler Labs facts putatively supportive of invalidity even though they occurred

after the filing of the asserted patents. In that vein, Koss objects to Mr. Wiggins acting as a fact

witness, providing post hoc factual testimony as the key evidence regarding what Apple contends

is actual experimentation required to make a particular headphone product with unspecified

requirements and functionality. While not dated before the patents in suit, the factual evidence is

nevertheless akin to evidence about what actually constitutes potentially invalidating prior art.

       In that vein, Apple misrepresents an irrelevant point in U.S. v. Donovan 2020 WL 5767996,

at *3 (E.D. Tex. Sept 28, 2020). Specifically, the district court there noted that in determining

whether an expert is “retained” or “specially employed,” “there is a ‘difference between a

percipient witness who happens to be an expert and an expert who without prior knowledge of the

facts giving rise to the litigation is recruited to provide expert opinion testimony.’” Id. (emphasis

on language omitted by Apple). It is undisputed that Mr. Wiggins is a percipient witness as it

relates to actual efforts to develop true wireless headphones; his Doppler Labs experience is fact

testimony supporting an opinion of invalidity for lack of enablement. He also may happen to be

an expert (whose other foibles in terms of comporting with the Court’s claim construction orders

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and the law on obviousness are detailed elsewhere). For purposes of this Motion, Koss takes issue

only with his non-expert testimony that forms the entire basis for his enablement opinions:

        Based on my own experience in 2013-2015 working with a team of 15 highly
        experienced engineers, including ones with advanced degrees, it is very difficult to
        implement an audio system that transmits audio to two independently wireless
        earphones using Bluetooth links with a source. Thus, it is my opinion that it would
        be extraordinarily difficult for a person of skill to have done so on their own using
        the technology that existed in 2008.

Dkt. 189-2, Appx2193 (emphasis added); see Appx693–95, ¶¶ 2135–38; Appx709-14, ¶¶ 2174–

93.

        Apple argues that the details of Mr. Wiggins’ work at Doppler Labs was disclosed with his

curriculum vitae in July, 2021. Dkt. 216 at 12. Apple cannot dispute that he was never added as a

witness to Apple’s initial disclosures. And by confirming that Apple itself knew of the Doppler

Labs work (and by suggesting that Koss should have known of the importance of the same), Apple

just shifts its discovery violation to a violation in the form of its invalidity contentions, served most

recently on August 13, 2021. In the cover portion of that document, the word “Doppler” does not

appear, and the sum-total of Apple’s arguments for lack of enablement include the following

excerpt, followed by a listing of dozens of claim elements across the various asserted patents:




Ex. F at p. 38–41. If Apple contends that Mr. Wiggins’ CV contained evidence it would later use

to support an argument of no enablement, Apple not only failed to disclose it, but affirmatively hid

its relevance from Koss by serving contentions Apple knew to be incomplete and misleading.

        The specific testimony Koss seeks to strike was plainly not important to Apple. Had it been


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important, Apple would have bothered to make Mr. Wiggins available to testify during the fact

discovery period. It would have at least cited some of that evidence in support of its contention

that the claims are invalid for lack of enablement. Id. Instead, Apple hid the ball in its invalidity

contentions and now mischaracterizes Koss’ request as seeking to exclude the fact that Mr.

Wiggins worked at Doppler Labs. Koss does not seek to strike the fact that Mr. Wiggins worked

at Doppler Labs, or even that that work causes his opinions to be admissible under Rule 702. It

only seeks to strike his percipient witness testimony about his personal work experience.

V.     RELIANCE ON UNDISCLOSED FACTS RELATED TO PRIOR ART

       A.      HT820 Headphones

       Given Apple’s handling of the HT820 headphones, Koss cannot understand why Apple is

opposing Koss’ motion in that regard. Apple does not dispute that Koss was prevented from

actually inspecting the HT820. Apple even admits that Mr. Wiggins did not physically inspect the

HT820. Dkt. 216 at 10. The fact that the unpackaged Motorola HT820 headphones are in Apple’s

possession but not actually inspected by either party should be sufficient to strike any reference to

a physical exemplar at trial, and neither Mr. Wiggins nor Apple certainly may not permissibly rely

on anything that can be gleaned from inspection of the products that is not apparent from the

“product manuals, technical specifications, and websites” Apple contends it timely produced. As

a result, Koss can see no reason other than “trial by surprise,” or to confuse the jury, in Apple

being permitted to use the physical HT820 headphones, in or out of the package, at trial.

       B.      Other Physical Headphone Products

       Mr. Wiggins had possession and inspected four headphones that Koss was not permitted

to inspect and test. Specifically, Mr. Wiggins purports to have evaluated three Plantronics

headphones (the Calisto Pro, 645, and 855) and the Motorola S9 headphones. Photos of those

products appear in his report in various states of disassembly. See Dkt. 189-1, Appx025–030.

       By suggesting, only after Koss alerted the Court to Apple’s discovery misconduct, that

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these images are merely demonstratives, Apple is admitting that it did not comply with its

discovery obligations. These are not marketing or sales images of commercial product. They were

taken by Mr. Wiggins during disassembly and in support of theories of invalidity that carry with

them a clear and convincing evidentiary burden. See Dkt. 189-2, Appx1103–1106, at 385:1–

388:22. Because they show the product in various states of disassembly, these photos convey to

the jury that Mr. Wiggins actually handled and inspected these products, despite Apple suggesting

that they will not be used for that purpose. Koss submits that allowing these images to be shown

to the jury, whether as “demonstratives” or otherwise, will lend undue credence to the actual

evidence supporting the invalidity issues on which Mr. Wiggins opines. And if, as Apple admits,

these images are merely demonstratives (intentionally or to cover up for yet another discovery

failing), they are not important to Apple. To permit Apple to show these images, which were part

of its expert’s work on the issue of invalidity, under the guise of “demonstratives” would be

absolving Apple of wrongdoing for yet another discovery violation. There is no basis whatsoever

to permit the jury to see these images, or to permit Mr. Wiggins to testify about the images (or his

disassembly of any of the prior art not likewise made available to Koss for inspection).

       C.      Late Testimony of Edward Brann

       Apple concedes that if this Court strikes Mr. Brann’s testimony based on the already-filed

briefs, Mr. Wiggins will not be permitted to testify about statements from Mr. Brann. Koss notes,

however, that Apple continues to try to twist this Court’s prior words, referring to an “extended

fact discovery period” that ignores this Court’s prior chiding of Apple’s view of the “limited scope

of the November 5, 2021 discovery extension.” Dkt. 145 at 5. Koss reiterates that Mr. Brann’s

deposition was untimely and Apple should not be permitted to use it just because it is Apple.

VI.    CONCLUSION

       Koss requests that the Court strike the offending opinions (and undisclosed facts) from

Apple’s experts’ reports and depositions.

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Dated: June 6, 2022                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 6, 2022, a true and correct copy of the foregoing document

was served on all counsel of record by email.


                                                     /s/ Darlene F. Ghavimi
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